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 5

 6   Attorneys for Plaintiff
     United States of America
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 9
                                UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                        Case No. 1:16-cr-00123-DAD-BAM-2
12
                                  Plaintiff,
13
                            v.                     STIPULATION AND ORDER TO CONTINUE
14
                                                   SENTENCING
     RANDY SEJA,
15
                                  Defendant.
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19          IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
20   Attorney and Kimberly A. Sanchez, Assistant U.S. Attorney and Randy Seja, attorney for the
21   defendant, that the sentencing set for, July 9, 2018, at 10:00 am before the Honorable Dale A.
22   Drozd, U.S. District Court Judge, be continued to August 20, 2018 at 10:00 a.m. The government
23   needs additional time to provide additional discovery to the U.S. Probation Office. The discovery
24   in this case is voluminous, involved multiple wiretaps, and in order to avoid overburdening the
25   Probation Office with massive discovery and pinpointing only that applicable to this defendant, it
26   is taking longer than providing discovery ordinarily would. The parties have consulted with the
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                                  [Remainder of page intentionally left blank.]
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                                                     1
     Case 1:16-cr-00123-DAD-BAM Document 78 Filed 05/23/18 Page 2 of 2


 1   assigned U.S. Probation Officer, who is in agreement with the earlier sentencing date.

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 4
     Dated: May 22, 2018                                    Respectfully submitted,
 5
                                                            McGREGOR W. SCOTT
 6                                                          United States Attorney

 7                                                By        /s/ Kimberly A. Sanchez
                                                            KIMBERLY A. SANCHEZ
 8                                                          Assistant U.S. Attorney

 9   Dated: May 22, 2018                                    /s/ Richard Beshwate
                                                            RICHARD BESHWATE
10                                                          Attorney for Defendant

11

12                                               ORDER

13          The court has reviewed and considered the stipulation of the parties to continue the

14   sentencing in this case. Good cause appearing, the sentencing hearing as to the above named

15   defendant currently scheduled for July 9, 2018, is continued to August 20, 2018, at 10:00 a.m. in

16   courtroom 5 before District Judge Dale A. Drozd.

17   IT IS SO ORDERED.
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        Dated:     May 23, 2018
19                                                         UNITED STATES DISTRICT JUDGE

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